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  8                                UNITED STATES DISTRICT COURT
  9                             CENTRAL DISTRICT OF CALIFORNIA
 10

 11    PLAYVUU, INC.,                                        Case No. 2:22-cv-06019-GW-MRW
 12            Plaintiff and Counter-Defendant,
 13                     v.                                   [PROPOSED]
 14                                                          STIPULATED PROTECTIVE
       SNAP INC.,
                                                             ORDER
 15            Defendant and Counterclaimant.
 16

 17

 18   1.      INTRODUCTION
 19           1.1      PURPOSES AND LIMITATIONS
 20           Discovery in this action is likely to involve production of confidential,
 21   proprietary, or private information for which special protection from public disclosure
 22   and from use for any purpose other than prosecuting this litigation may be warranted.
 23   Accordingly, the parties hereby stipulate to and petition the Court to enter the
 24   following Stipulated Protective Order. The parties acknowledge that this Order does
 25   not confer blanket protections on all disclosures or responses to discovery and that the
 26   protection it affords from public disclosure and use extends only to the limited
 27   information or items that are entitled to confidential treatment under applicable legal
 28   principles. The parties further acknowledge that this Stipulated Protective Order does
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  1   not entitle them to file confidential information under seal; Civil Local Rule 79-5 sets
  2   forth the procedures that must be followed and the standards that will be applied when
  3   a party seeks permission from the court to file material under seal.
  4           1.2      GOOD CAUSE STATEMENT
  5           This action is likely to involve trade secrets, customer and pricing lists and other
  6   valuable research, development, commercial, financial, technical, and proprietary
  7   information for which special protection from public disclosure and from use for any
  8   purpose other than prosecution of this action is warranted. Such confidential and
  9   proprietary materials and information consist of, among other things, confidential
 10   business or financial information, information regarding confidential business
 11   practices, source code and technical documentation, or other confidential research,
 12   development, or commercial information (including information implicating privacy
 13   rights of third parties), information otherwise generally unavailable to the public, or
 14   which may be privileged or otherwise protected from disclosure under state or federal
 15   statutes, court rules, case decisions, or common law. Accordingly, to expedite the
 16   flow of information, to facilitate the prompt resolution of disputes over confidentiality
 17   of discovery materials, to adequately protect information the parties are entitled to
 18   keep confidential, to ensure that the parties are permitted reasonable, necessary uses
 19   of such material in preparation for and in the conduct of trial, to address their handling
 20   at the end of the litigation, and serve the ends of justice, a protective order for such
 21   information is justified in this matter. It is the intent of the parties that information
 22   will not be designated as confidential for tactical reasons and that nothing be so
 23   designated without a good faith belief that it has been maintained in a confidential,
 24   non-public manner, and there is good cause why it should not be part of the public
 25   record of this case.
 26   2.      DEFINITIONS
 27           2.1      Challenging Party: a Party that challenges the designation of information
 28   or items under this Order.
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  1           2.2      “CONFIDENTIAL” Information or Items: information (regardless of
  2   how it is generated, stored or maintained) or tangible things that qualify for protection
  3   under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
  4   Statement.
  5           2.3      Designating Party: a Party or Non-Party that designates information or
  6   items that it produces in disclosures or in responses to discovery as
  7   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’
  8   EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
  9           2.4      Disclosure or Discovery Material: all items or information, regardless of
 10   the medium or manner in which it is generated, stored, or maintained (including,
 11   among other things, testimony, transcripts, and tangible things), that are produced or
 12   generated in disclosures or responses to discovery in this matter.
 13           2.5      Expert: a person with specialized knowledge or experience in a matter
 14   pertinent to the litigation who (1) has been retained by a Party to serve as an expert
 15   witness or as a consultant in this action, (2) is not a past or current employee of a Party
 16   or of a Party’s competitor, and (3) at the time of retention, is not anticipated to become
 17   an employee of a Party or of a Party’s competitor.
 18           2.6      “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES
 19   ONLY” Information or Items: extremely sensitive “Confidential Information or
 20   Items,” disclosure of which to another Party or Non-Party would create a substantial
 21   risk of serious harm or competitive/commercial disadvantage that the Designating
 22   Party reasonably believes could not be avoided by less restrictive means.
 23           2.7      “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items:
 24   extremely sensitive “Confidential Information or Items” representing computer code
 25   and associated comments and revision histories, formulas, engineering specifications,
 26   or schematics that define or otherwise describe in detail the algorithms or structure of
 27   software or hardware designs, disclosure of which to another Party or Non-Party
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  1   would create a substantial risk of serious harm that the Designating Party reasonably
  2   believes could not be avoided by less restrictive means.
  3           2.8      In-House Counsel: attorneys who are employees of a Party to this action.
  4   In-House Counsel does not include Outside Counsel of Record or any other outside
  5   counsel.
  6           2.9      Non-Party: any natural person, partnership, corporation, association, or
  7   other legal entity not named as a Party to this action.
  8           2.10 Outside Counsel of Record: attorneys who are not employees of a Party
  9   to this action but are retained to represent or advise a party to this action and have
 10   appeared in this action on behalf of that party or are affiliated with a law firm which
 11   has appeared on behalf of that party; as well as staff of such counsel and Professional
 12   Vendors, as defined below, to whom it is reasonably necessary to disclose or allow
 13   access to Protected Material for this litigation.
 14           2.11 Party: any party to this action, including all of its officers, directors, and
 15   employees, consultants, retained experts, and Outside Counsel of Record (and their
 16   respective support staffs).
 17           2.12 “Patent-in-Suit” means U.S. Patent No. 10,931,911 (the “’911 Patent”).
 18           2.13 Professional Vendors: persons or entities that provide litigation support
 19   services (e.g., photocopying, videotaping, translating, preparing exhibits or
 20   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
 21   their employees and subcontractors.
 22           2.14 Protected Material:           any Disclosure or Discovery Material that is
 23   designated as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – OUTSIDE
 24   ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
 25           2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
 26   from a Designating Party.
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  1   3.       SCOPE
  2            3.1     The protections conferred by this Stipulation and Order cover not only
  3   Protected Material (as defined above), but also (1) any information copied or extracted
  4   from Protected Material; (2) all copies, excerpts, summaries, or compilations or other
  5   writings that contain, reflect, reveal, suggest or otherwise disclose Protected Material;
  6   and (3) any testimony, conversations, or presentations by Parties, their Outside
  7   Counsel of Record, or their In-House Counsel that might reveal Protected Material.
  8   However, the protections conferred by this Stipulation and Order do not cover the
  9   following information: (a) any information that is in the public domain at the time of
 10   disclosure to a Receiving Party or becomes part of the public domain after its
 11   disclosure to a Receiving Party as a result of publication not involving a violation of
 12   this Order, including becoming part of the public record through trial or otherwise;
 13   and (b) any information known to the Receiving Party prior to the disclosure or
 14   obtained by the Receiving Party after the disclosure from a source who obtained the
 15   information lawfully and under no obligation of confidentiality to the Designating
 16   Party.
 17            3.2     Nothing herein shall affect the right of the Designating Party to disclose
 18   to its officers, directors, employees, attorneys, consultants or Experts, or to any other
 19   person, its own information. Such disclosure shall not waive the protections of this
 20   Protective Order and shall not entitle other Parties or their attorneys to disclose such
 21   information in violation of it, unless by such disclosure of the Designating Party the
 22   information becomes public knowledge. Similarly, the Protective Order shall not
 23   preclude a Party from showing its own information to its officers, directors,
 24   employees, attorneys, consultants or experts, or to any other person, which information
 25   has been filed under seal by another Party.
 26            3.3     Nothing in this Order shall be construed to prejudice any Party’s right to
 27   use any Protected Material in court or in any court filing with the consent of the
 28   Designating Party or by order of the Court. Any use of Protected Material at trial shall
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  1   be governed by the orders of the trial judge. This order does not govern the use of
  2   Protected Material at trial.
  3           3.4      This Order is without prejudice to the right of any Party to seek further
  4   or additional protection of any Discovery Material or modify this Order in any way,
  5   including, without limitation, an order that certain matter not be produced at all.
  6   4.      DURATION
  7           Even after final disposition of this litigation, the confidentiality obligations
  8   imposed by this Order will remain in effect until a Designating Party agrees otherwise
  9   in writing or a court order otherwise directs.
 10   5.      DESIGNATING PROTECTED MATERIAL
 11           5.1      Exercise of Restraint and Care in Designating Material for Protection.
 12   Each Party or Non-Party that designates information or items for protection under this
 13   Order must take care to limit any such designation to specific material that qualifies
 14   under the appropriate standards. The Designating Party must designate for protection
 15   only those parts of material, documents, items, or oral or written communications that
 16   qualify so that other portions of the material, documents, items, or communications
 17   for which protection is not warranted are not swept unjustifiably within the ambit of
 18   this Order.
 19           If it comes to a Designating Party’s attention that information or items that it
 20   designated for protection do not qualify for protection, that Designating Party must
 21   promptly notify all other Parties that it is withdrawing the mistaken designation.
 22           5.2      Manner and Timing of Designations. Except as otherwise provided in
 23   this Order (see, e.g., second paragraph of Section 5.2(b) below), or as otherwise
 24   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 25   under this Order must be clearly so designated before the material is disclosed or
 26   produced.
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  1           Designation in conformity with this Order requires:
  2                    (a)      for information in documentary form (e.g., paper or electronic
  3   documents, but excluding transcripts of depositions or other pretrial or trial
  4   proceedings), that the Designating Party affix, to each page that contains Protected
  5   Material (or, in the event that is not practicable, to the first page of the document), the
  6   legend: (i) for “CONFIDENTIAL” Information or Items, “CONFIDENTIAL” or
  7   “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER”; for “HIGHLY
  8   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” Information or Items,
  9   “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” or
 10   “HIGHLY CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER – OUTSIDE
 11   ATTORNEYS’ EYES ONLY”; and (iii) for “HIGHLY CONFIDENTIAL – SOURCE
 12   CODE” Information or Items, “HIGHLY CONFIDENTIAL – SOURCE CODE” or
 13   “HIGHLY CONFIDENTIAL SOURCE CODE” or “HIGHLY CONFIDENTIAL –
 14   SUBJECT TO PROTECTIVE ORDER – SOURCE CODE.”
 15           A Party or Non-Party that makes original documents or materials (other than
 16   HIGHLY CONFIDENTIAL – SOURCE CODE Information or Items) available for
 17   inspection need not designate them for protection until after the inspecting Party has
 18   indicated which material it would like copied and produced. During the inspection
 19   and before the designation, all of the material made available for inspection shall be
 20   deemed “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY.”
 21   After the inspecting Party has identified the documents it wants copied and produced,
 22   the Designating Party must determine which documents, or portions thereof, qualify
 23   for protection under this Order. Then, before producing the specified documents, the
 24   Designating Party must affix the appropriate legend (as set forth above) to each page
 25   that contains Protected Material. HIGHLY CONFIDENTIAL – SOURCE CODE
 26   Information or Items shall be treated according to Section 9 of this Order.
 27                    (b)      for testimony given in deposition or in other pretrial or trial
 28   proceedings, that (i) the Designating Party identify on the record, before the close of
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  1   the deposition, hearing, or other proceeding, all protected testimony and specify the
  2   level of protection being asserted, or (ii) within fourteen (14) days after receiving the
  3   transcript, the Designating Party advises the Receiving Party and/or court reporter that
  4   it is assigning confidentiality designation to some or all of the transcript. When it is
  5   impractical to identify separately each portion of testimony that is entitled to protection
  6   and it appears that substantial portions of the testimony may qualify for protection, the
  7   Designating Party may invoke on the record (before the deposition, hearing, or other
  8   proceeding is concluded) a right to place the entirety of the testimony under the
  9   protection of this Order. Nothing in this Section shall be interpreted to interfere with
 10   a deponent’s own right to review his or her own deposition transcript for accuracy.
 11           Parties shall give the other parties notice if they reasonably expect a deposition,
 12   hearing or other proceeding to include Protected Material so that the other parties can
 13   ensure that only authorized individuals who have signed the “Acknowledgment and
 14   Agreement to Be Bound” (Exhibit A) are present at those proceedings. The use of a
 15   document as an exhibit at a deposition or other pretrial or trial proceedings shall not
 16   in any way affect its designation as “CONFIDENTIAL” or “HIGHLY
 17   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” or “HIGHLY
 18   CONFIDENTIAL – SOURCE CODE.”
 19           Transcripts containing Protected Material shall have an obvious legend on the
 20   title page that the transcript contains Protected Material, and the title page shall be
 21   followed by a list of all pages (including line numbers as appropriate) that have been
 22   designated as Protected Material and the level of protection being asserted by the
 23   Designating Party. The Designating Party shall inform the court reporter of these
 24   requirements. Any transcript that was not designated on the record pursuant to the
 25   first paragraph of Section 5.2(b) above shall be treated during the 14-day period for
 26   designation as if it had been designated “HIGHLY CONFIDENTIAL – OUTSIDE
 27   ATTORNEYS’ EYES ONLY” in its entirety. After the expiration of that period or as
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  1   of such earlier time that such transcript is designated, the transcript shall be treated
  2   only as actually designated.
  3                    (c)      for information produced in some form other than documentary
  4   and for any other tangible items, that the Designating Party affix in a prominent place
  5   on the exterior of the container or containers in which the information is stored the
  6   legends for “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – OUTSIDE
  7   ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
  8   If only a portion or portions of the information warrants protection, the Designating
  9   Party, to the extent practicable, shall identify the protected portion(s) and specify the
 10   level of protection being asserted.
 11           5.3      Inadvertent Failures to Designate. An inadvertent failure to designate
 12   qualified information or items does not waive the Designating Party’s right to secure
 13   protection under this Order for such material. Upon timely correction of a designation,
 14   the Receiving Party must make reasonable efforts to assure that the material is treated
 15   in accordance with the provisions of this Order.
 16           5.4      Right to Seek Additional Protections. This Order is entered without
 17   prejudice to the right of any Party to seek additional protections from the Court as may
 18   be necessary under particular circumstances.
 19   6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS
 20           6.1      Timing of Challenges.        Any Party may challenge a designation of
 21   confidentiality at any time that is consistent with the Court’s Scheduling Order.
 22           6.2      Meet and Confer.         The Challenging Party will initiate the dispute
 23   resolution process under Local Rule 37-1 et seq.
 24           6.3      The burden of persuasion in any such challenge proceeding will be on the
 25   Designating Party. Frivolous challenges, and those made for an improper purpose
 26   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
 27   expose the Challenging Party to sanctions. Unless the Designating Party has waived
 28   or withdrawn the confidentiality designation, all parties will continue to afford the
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  1   material in question the level of protection to which it is entitled under the Designating
  2   Party’s designation until the Court rules on the challenge.
  3   7.      ACCESS TO AND USE OF PROTECTED MATERIAL
  4           7.1      Basic Principles. Absent further order from the Court, the Receiving
  5   Party may use Protected Material that is disclosed or produced by another Party or by
  6   a Non-Party in connection with this action only for prosecuting, defending, or
  7   attempting to settle this action; the Protected Material may not be used for any other
  8   purpose. Protected Material may be disclosed only to the categories of persons and
  9   under the conditions described in this Order. When the action has been terminated, a
 10   Receiving Party must comply with the provisions of Section 15 below (FINAL
 11   DISPOSITION).
 12           Protected Material must be stored and maintained by a Receiving Party at a
 13   location and in a secure manner that ensures that access is limited to the persons
 14   authorized under this Order.
 15           7.2      Disclosure of “CONFIDENTIAL” Information or Items.                      Unless
 16   otherwise ordered by the Court or permitted in writing by the Designating Party, each
 17   Receiving Party may disclose any information or item designated “CONFIDENTIAL”
 18   only to:
 19                    (a)      the Receiving Party’s Outside Counsel of Record in this action, as
 20   well as employees of said Outside Counsel of Record to whom it is reasonably
 21   necessary to disclose the information for this action;
 22                    (b)      current (at the time of disclosure) officers, directors, or employees
 23   (including In-House Counsel) of the Receiving Party to whom disclosure is reasonably
 24   necessary for this action, and who have signed the “Acknowledgement and Agreement
 25   to Be Bound” (Exhibit A);
 26                    (c)      Experts (as defined in this Order) of the Receiving Party in
 27   connection with this action who have signed the “Acknowledgment and Agreement to
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  1   Be Bound” (Exhibit A), and as to whom the procedures set forth in Section 7.5(a),
  2   below, have been followed;
  3                    (d)      the Court and its personnel;
  4                    (e)      court reporters and their staff;
  5                    (f)      professional jury or trial consultants, mock jurors, and Professional
  6   Vendors to whom disclosure is reasonably necessary for this action and who have
  7   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  8                    (g)      the author or recipient of a document containing the information or
  9   a custodian or other person who otherwise possessed or knew the information;
 10                    (h)      during their depositions, witnesses, and attorneys for witnesses, in
 11   the action to whom disclosure is reasonably necessary, with the consent of the
 12   Designating Party or as ordered by the Court. Pages of transcribed deposition
 13   testimony or exhibits to depositions that reveal Protected Material must be separately
 14   bound by the court reporter and may not be disclosed to anyone except as permitted
 15   under this Stipulated Protective Order;
 16                    (i)      any mediator or settlement officer, and their supporting personnel,
 17   mutually agreed upon by any of the parties engaged in settlement discussions; and
 18                    (j)      any other person with the prior written consent of the Designating
 19   Party.
 20            7.3     Disclosure of “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’
 21   EYES ONLY” Information or Items. Unless otherwise ordered by the Court or
 22   permitted in writing by the Designating Party, a Receiving Party may disclose any
 23   information or items designated “HIGHLY CONFIDENTIAL – OUTSIDE
 24   ATTORNEYS’ EYES ONLY” to:
 25                    (a)      the Receiving Party’s Outside Counsel of Record in this action, as
 26   well as employees of said Outside Counsel of Record to whom it is reasonably
 27   necessary to disclose the information for this litigation:
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  1                    (b)      Experts (as defined in this Order) of the Receiving Party in
  2   connection with this action, who have signed the “Acknowledgement and Agreement
  3   to Be Bound” (Exhibit A), and as to whom the procedures set forth in Section 7.5(a),
  4   below, have been followed;
  5                    (c)      the Court and its personnel;
  6                    (d)      court reporters and their staff;
  7                    (e)      professional jury or trial consultants including mock jurors who
  8   have signed a confidentiality agreement, and Professional Vendors to whom disclosure
  9   is reasonably necessary for this litigation and who have signed the “Acknowledgment
 10   and Agreement to be Bound” (Exhibit A);
 11                    (f)      the author or recipient of a document containing the information or
 12   a custodian or other person who otherwise possessed or knew the information;
 13                    (g)      any mediator or settlement officer, and their supporting personnel,
 14   mutually agreed upon by any of the parties engaged in settlement discussions; and
 15                    (h)      any other person with the prior written consent of the Designating
 16   Party.
 17            7.4     Disclosure of “HIGHLY CONFIDENTIAL – SOURCE CODE”
 18   Information or Items. Unless otherwise ordered by the Court or permitted in writing
 19   by the Designating Party, a Receiving Party may disclose any information or item
 20   designated “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:
 21                    (a)      the Receiving Party’s Outside Counsel of Record in this action, as
 22   well as employees of said Outside Counsel of Record to whom it is reasonably
 23   necessary to disclose the information for this litigation;
 24                    (b)      Experts (as defined in this Order) of the Receiving Party (1) to
 25   whom disclosure is reasonably necessary for this litigation, (2) who have signed the
 26   “Acknowledgement and Agreement to Be Bound” (Exhibit A), and (3) as to whom the
 27   procedures set forth in Section 7.5(a) below have been followed;
 28                    (c)      the Court and its personnel;
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  1                    (d)      a court reporter taking the deposition of a witness testifying
  2   regarding HIGHLY CONFIDENTIAL – SOURCE CODE (the requirements of
  3   Section 9(c)(xii) shall apply);
  4                    (e)      the author or recipient of a document containing HIGHLY
  5   CONFIDENTIAL – SOURCE CODE or a custodian or other person who otherwise
  6   possessed or knew the information (including any witness identified by the
  7   Designating Party as a 30(b)(6) witness on topics relating to the Designating Party’s
  8   HIGHLY CONFIDENTIAL – SOURCE CODE).
  9           7.5      Procedures for Approving or Objecting to Disclosure of “HIGHLY
 10   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” or “HIGHLY
 11   CONFIDENTIAL – SOURCE CODE” Information or Items to Experts.
 12                    (a)      Unless otherwise ordered by the Court or agreed to in writing by
 13   the Designating Party, a Receiving Party that seeks to disclose to an Expert (as defined
 14   in this Order) any information or item that has been designated “HIGHLY
 15   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY” or “HIGHLY
 16   CONFIDENTIAL – SOURCE CODE” pursuant to Sections 7.2, 7.3, and 7.4 first must
 17   make a written request to the Designating Party’s Outside Counsel of Record that (1)
 18   sets forth the full name of the Expert and the city and state of his or her primary
 19   residence, (2) attaches a copy of the Expert’s current resume, (3) identifies the Expert’s
 20   current employer(s), (4) identifies each person or entity from whom the Expert has
 21   received compensation or funding for work in his or her areas of expertise or to whom
 22   the Expert has provided professional services, including in connection with a
 23   litigation, at any time during the preceding five years and the party for whom such
 24   work was done, (5) identifies (by name and number of the case, filing date, and
 25   location of court) any litigation in connection with which the Expert has offered expert
 26   testimony, including through a declaration, report, or testimony at a deposition or trial,
 27   during the preceding five years, and (6) identifies any patents or patent applications in
 28   which the Expert is identified as an inventor or applicant, is involved in prosecuting
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  1   or maintaining, or has any pecuniary interest. With regard to the information sought
  2   through parts 2-6 of this disclosure, if the Expert believes any of this information is
  3   subject to a confidentiality obligation to a third party, then the Expert should provide
  4   whatever information the Expert believes can be disclosed without violating any
  5   confidentiality agreements, and the Party seeking to disclose to the Expert shall be
  6   available to meet and confer with the Designating Party regarding any such
  7   engagement.
  8                    (b)      A Party that makes a request and provides the information
  9   specified in the preceding respective sections may disclose the subject Protected
 10   Material to the identified Expert unless, within seven (7) days of delivering the request
 11   (the “Objection Period”), the Party receives a written objection from the Designating
 12   Party. Any such objection must set forth in detail the grounds on which it is based.
 13   The Parties shall work in good faith to agree to longer or shorter Objection Periods if
 14   deadlines in the case so require. For the avoidance of doubt, absent written consent of
 15   the Designating Party, the Party may not share Protected Material with the identified
 16   Expert until either the expiration of the Objection Period without written objection or
 17   until the Court resolves the objection.
 18                    (c)      A Party that receives a timely written objection must meet and
 19   confer with the Designating Party (through direct voice-to-voice dialogue) to try to
 20   resolve the matter by agreement within seven days of the written objection. If the
 21   dispute is not resolved, the Party objecting to the disclosure will have seven (7) days
 22   from the date of the meet and confer to seek relief from the Court, unless superseded
 23   by the applicable discovery dispute resolution procedures of any Judge or Magistrate
 24   Judge presiding over such dispute. If relief is not sought from the Court within that
 25   time, the objection shall be deemed withdrawn.
 26           In any such proceeding, the Party opposing disclosure to the Expert shall bear
 27   the burden of proving that the risk of harm that the disclosure would entail (under the
 28

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  1   safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected
  2   Material to its Expert.
  3            7.6     It is understood that Outside Counsel of Record for a Party may give
  4   advice and opinions to his or her client based on his or her evaluation of information
  5   designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – OUTSIDE
  6   ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE”
  7   which is provided from the Designating Party to such Outside Counsel of Record,
  8   provided that such rendering of advice and opinions shall not reveal the content of
  9   such information, except by prior written agreement with counsel for the Designating
 10   Party.
 11   8.       PROSECUTION BAR
 12            Individuals associated with a Receiving Party, including Outside Counsel of
 13   Record, In-House Counsel, and Experts (and any employees of such individuals) who
 14   directly or indirectly review any of the Designating Party’s technical HIGHLY
 15   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY or HIGHLY
 16   CONFIDENTIAL – SOURCE CODE information (“Prosecution Bar Information”)
 17   are thereafter prohibited from being involved, directly or indirectly, in the prosecution
 18   of patent applications relating to such reviewed Prosecution Bar Information or the
 19   field of the invention of the patents in-suit. For purposes of this Section, “prosecution”
 20   includes directly or indirectly participating in or advising regarding the drafting or
 21   amending of any claims (including without limitation advising on, consulting on,
 22   preparing, prosecuting, drafting, editing or amending of the applications,
 23   specifications, claims or responses to office actions, or otherwise affecting the
 24   disclosure in patent applications or specifications or the scope of claims in patents or
 25   patent applications, or supervision of the aforementioned). Nothing in this Section
 26   shall prohibit any individual from representing a party whose patent is challenged in a
 27   reissue protest, ex parte reexamination, inter partes reexamination, post-grant review,
 28   or covered business method proceeding, except that the individual is prohibited from
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  1   participating directly or indirectly in or advising regarding the drafting or modification
  2   of any claim or amendment to any claim. This Prosecution Bar shall begin when the
  3   Prosecution Bar Information is first reviewed or otherwise learned by the affected
  4   individual and shall end on the two-year anniversary following the date of final
  5   termination of this action. Nothing herein shall prevent any person from sending
  6   nonconfidential prior art to an attorney involved in patent prosecution for purposes of
  7   ensuring that such prior art is submitted to the U.S. Patent and Trademark Office (or
  8   any similar agency of a foreign government) in order to comply with such person’s
  9   duty of candor. The parties expressly agree that the prosecution bar set forth herein
 10   shall be personal to any person who reviews Prosecution Bar Information and shall
 11   not be imputed to any other persons or attorneys at the person’s law firm or company
 12   unless information concerning the Prosecution Bar Information were communicated
 13   to such person by one who reviewed the materials.
 14   9.      SOURCE CODE
 15                    (a)      A Party or Non-Party may designate source code as “HIGHLY
 16   CONFIDENTIAL – SOURCE CODE” if it comprises or includes confidential,
 17   proprietary or trade secret source code. Source code includes, but is not limited to,
 18   computer code, scripts, object code, microcode, software application code,
 19   programming code or other machine language instructions, make files, link files,
 20   intermediate output files, executable files, header files, resource files, library files,
 21   module definition files, map files, object files, linker files, browse info files, debug
 22   files, register transfer language, and hardware description language, as well as any and
 23   all human readable comments or files, including programmer notes, annotations, and
 24   other comments, interlineated in the Designating Party’s source code files as well
 25   formulas, engineering specifications, or schematics that disclose any such information.
 26   Production or designation of HIGHLY CONFIDENTIAL – SOURCE CODE shall not
 27   be construed as a representation or admission by a party that HIGHLY
 28   CONFIDENTIAL – SOURCE CODE is properly discoverable in this action, nor does
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  1   the inclusion of HIGHLY CONFIDENTIAL – SOURCE CODE as part of this
  2   agreement obligate any party to produce HIGHLY CONFIDENTIAL – SOURCE
  3   CODE. If a Receiving Party believes that non-source code files have been designated
  4   as HIGHLY CONFIDENTIAL – SOURCE CODE or otherwise disagrees with a
  5   Designating Party’s designation of information as HIGHLY CONFIDENTIAL –
  6   SOURCE CODE under this Section, the Receiving Party may challenge that
  7   designation pursuant to Section 6 of this Order. In the event of such a challenge under
  8   Section 6, there shall be no presumption that the designated material is or is not
  9   HIGHLY CONFIDENTIAL – SOURCE CODE information, and the Designating
 10   Party shall have the burden of establishing the propriety of the designation.
 11                    (b)      Protected Material designated as “HIGHLY CONFIDENTIAL –
 12   SOURCE CODE” may be disclosed only to the individuals as set forth in Section 7.4,
 13   who have been identified to the Designating Party at least three calendar days in
 14   advance of the first time such person reviews the source code. Nothing in this Section
 15   supersedes a Receiving Party’s obligation to disclose an Expert under Section 7.5. In
 16   the event of a conflict between the timelines disclosed in Section 7.5 and this Section,
 17   Section 7.5’s timelines shall control.
 18                    (c)      The following additional restrictions shall apply to the inspection
 19   and production of HIGHLY CONFIDENTIAL - SOURCE CODE, unless otherwise
 20   advised in writing by the Designating Party or otherwise Ordered by the Court:
 21                             (i)     Any source code shall be made available for inspection, in
 22   electronic (e.g., native) format. The Designating Party shall produce source code for
 23   inspection in electronic (e.g., native) format at any domestic office of its Outside
 24   Counsel of Record. Any single reviewing session (conducted during one business day
 25   or during consecutive business days of review) shall be conducted during regular
 26   business hours (9:00 A.M. to 5:00 P.M. local time) on at least five (5) business days’
 27   written (including email) notice for an initial inspection and at least two (2) business
 28   days written notice (including email) for any subsequent inspection, or during such
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  1   other hours as may be mutually and reasonably agreed upon on reasonable notice.
  2   Notice shall not be required to continue an inspection day-to-day so long as the
  3   Designating Party is informed at the conclusion of the inspection that it will continue
  4   on the following business day.
  5                             (ii)    Source code shall be produced for inspection and review
  6   subject to the following provisions, unless otherwise agreed by the Designating Party.
  7                             (iii)   The source code shall be made available for inspection on a
  8   secured computer (i.e., the computer may not be linked to any network, including a
  9   local area network, an intranet, or the Internet, and may not be connected to any printer
 10   or storage device other than the internal hard disk drive of the computer) in a secured
 11   location at the offices of the Designating Party’s Outside Counsel of Record (the
 12   “Source Code Computer”). The Source Code Computer may be password protected
 13   and shall have the source code stored on a hard drive contained inside the computer.
 14   The Source Code computer, as produced by the Designating Party, shall include the
 15   following software: (1) Notepad ++ v. 7.9.5; (2) Microsoft Visual Studio Community
 16   2019; and (3) Adobe Reader. At the Receiving Party’s request, the Designating Party
 17   shall include additional reasonable and commercially-available searching and/or
 18   analysis tools on the Source Code Computer, including but not limited to: (1) Beyond
 19   Compare; (2) Cygwin; and (3) Understand. The Receiving Party must request such
 20   additional tools at least seven (7) days in advance of the inspection. If there is a cost
 21   for the additional analysis tools, the Receiving Party shall bear the cost of such tools,
 22   including any costs relating to inclusion of Beyond Compare, Cygwin, and Understand
 23   on the Source Code Computer. If there is disagreement regarding a request for
 24   additional tools the parties may refer the dispute to this Court for resolution. To the
 25   extent that such tools record local working files or other records reflecting work
 26   performed by the Receiving Party, such files and records shall not be reviewed, altered,
 27   or deleted by the Designating Party.
 28

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  1                            (iv)    Except as otherwise provided in this Protective Order, the
  2   Receiving Party shall not copy, remove, or otherwise transfer any portion of the source
  3   code onto any recordable media or recordable device, and may not remove anything
  4   from the Source Code Computer. Use or possession of any input/output device (e.g.,
  5   USB memory stick, mobile phone or tablet, camera or any camera enabled device, CD,
  6   floppy disk, portable hard drive, laptop/computer, or any device that can access the
  7   Internet or any other network or external system, et cetera) is prohibited while
  8   accessing the Source Code Computer. The Receiving Party shall not use any outside
  9   electronic device to copy, record, photograph or otherwise reproduce the source code
 10   in any way. The Designating Party may exercise supervision from outside the review
 11   location over the Receiving Party when the Receiving Party is in the location with the
 12   Source Code Computer. Such supervision, however, shall not entail review of any
 13   work product generated by the Receiving Party (e.g., monitoring the screen of the
 14   Source Code Computer, monitoring any surface reflecting any notes or work product
 15   of the Receiving Party, or monitoring the key strokes of the Receiving Party).
 16                            (v)     The electronic source code shall be produced as it is kept in
 17   the normal course of business, or as it would be collected in the normal course of
 18   business. The Receiving Party’s Outside Counsel of Record and/or Experts shall be
 19   entitled to take handwritten notes relating to the source code. Such notes shall be
 20   labeled “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such notes may include
 21   the names of files, folders, directories, subroutines, variables, and line numbers, so
 22   long as they do not include actual source code. Otherwise, no copies of all or any
 23   portion of the source code may leave the room in which the source code is inspected
 24   except as otherwise provided in this Protective Order. Further, no other written or
 25   electronic record of the source code is permitted except as otherwise provided in this
 26   Protective Order.
 27                            (vi)    The Designating Party shall include on the Source Code
 28   Computer a list of all files available for review on the Source Code Computer.
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  1                                (vii) The Receiving Party shall be entitled to request one (1) hard
  2   copy printout of the specific lines, pages, or files of the source code that the Receiving
  3   Party believes in good faith are necessary to understand a relevant feature of an
  4   accused instrumentality. In the event that the Receiving Party requests more than 25
  5   consecutive pages or an aggregate of more than 800 pages of printed source code, and
  6   the Designating Party objects based on the volume of materials requested, the parties
  7   shall meet and confer in good faith as soon as possible, and in no event later than five
  8   (5) business days after such request by the Receiving Party. If, after meeting and
  9   conferring pursuant to Local Rule 7-3, the parties cannot resolve the objection, the
 10   Receiving Party shall be entitled to immediately seek judicial resolution of whether or
 11   not the identified source code in question is reasonably necessary to any case
 12   preparation activity, pursuant to the dispute resolution procedure set forth in Section
 13   7.5 of this Order. To request the hard copy print out contemplated in this Section, the
 14   Receiving Party shall create PDFs of the printed copies the Receiving Party is
 15   requesting using the software1 available on the Source Code Computer, and save them
 16   in a folder on the desktop of the inspection computer named “Print Requests” with a
 17   subfolder identifying the date of the request.              The PDF printouts must include
 18   identifying information, including the full file path and file name, page number, and/or
 19   line numbers such that the Designating Party may identify where the source code is
 20   located in the original production. The Designating Party shall provide instructions to
 21   the Receiving Party detailing how such information can be included in a PDF printout
 22   using Notepad ++ v. 7.9.5. The Receiving Party shall request printouts of only such
 23   portions of source code as are relevant to the claims and defenses in the case and are
 24   reasonably necessary for such purpose. In no event may the Receiving Party request
 25   printouts of entire files as an alternative to reviewing HIGHLY CONFIDENTIAL –
 26

 27   1
       The Designating Party shall ensure the software is sufficient to create the production
 28   contemplated in this Section.

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  1   SOURCE CODE in the first instance.                 However, if the Receiving Party needs
  2   additional time to review relevant HIGHLY CONFIDENTIAL – SOURCE CODE,
  3   such additional time shall not be unreasonably denied to the Receiving Party, and the
  4   parties shall work together in good faith to ensure that the Receiving Party has
  5   adequate time to review the HIGHLY CONFIDENTIAL – SOURCE CODE.
  6                             (viii) In the absence of any objection pursuant to Section 9(c)(vii),
  7   the Designating Party shall hand-deliver a paper copy of the .PDF printouts identified
  8   by the Receiving Party no later than one business day after it receives a request. Hand-
  9   delivery shall be complete upon delivery of the paper copies to the Receiving Party’s
 10   designated expert who is inspecting the Source Code Computer and/or by delivery to
 11   any Outside Counsel of Record for the Receiving Party. The Designating Party shall
 12   print    and      append       production   numbers     and    the     designation   “HIGHLY
 13   CONFIDENTIAL – SOURCE CODE” or “HIGHLY CONFIDENTIAL –SUBJECT
 14   TO PROTECTIVE ORDER – SOURCE CODE.” The paper copies in the Receiving
 15   Party’s possession must be kept in a secured location (i.e., an access restricted location
 16   such as a restricted conference room or locked drawer) at the offices of the Receiving
 17   Party’s Outside Counsel or other person(s) entitled to view and/or possess “HIGHLY
 18   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER – SOURCE CODE” at
 19   all times. The Receiving Party may make no more than two (2) additional paper copies
 20   of any portions of the source code files that are bates labeled and produced, not
 21   including copies attached to court filings. Except for when such additional paper
 22   copies are being used in deposition or while in transit between authorized persons or
 23   for authorized purposes, any such additional paper copies shall be kept in a secured
 24   location (i.e., an access-restricted location such as a restricted conference room or
 25   locked drawer) at the offices of the Receiving Party’s Outside Counsel or other
 26   person(s) entitled to view or possess “HIGHLY CONFIDENTIAL – SUBJECT TO
 27   PROTECTIVE ORDER – SOURCE CODE.” The Receiving Party shall only make
 28   additional paper copies if such additional copies are (1) necessary to prepare court
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  1   filings, pleadings, or other papers (including a testifying expert’s expert report), or
  2   (2) necessary for deposition, at the conclusion of which all copies except the copy used
  3   as an exhibit shall be destroyed.
  4                            (ix)    The Receiving Party may make and use short electronic
  5   snippets and images of the source code if necessary for court filings, expert reports,
  6   discovery responses, trial exhibits, demonstrative exhibits and other similar documents
  7   (including drafts thereof). The Receiving Party must at all times password protect any
  8   such electronic copies with a password comprising at least ten characters which
  9   include at least the following: a lower case letter, a capital letter, a number, and a
 10   special character.           All such documents shall be clearly marked “HIGHLY
 11   CONFIDENTIAL – SOURCE CODE” and, if filed, shall be filed under seal and
 12   submitted       for     in      camera   inspection.   Documents     containing    HIGHLY
 13   CONFIDENTIAL – SOURCE CODE shall not be filed electronically using the
 14   Court’s CM/ECF system.
 15                            (x)     Except as provided in Section 9(c)(ix) of this Protective
 16   Order, the Receiving Party shall not make any electronic copies of the electronic
 17   source code (e.g., Receiving Party may not create electronic images, or any other
 18   images, or make electronic copies, of the source code from any paper copy of source
 19   code for use in any manner—including by way of example only, the Receiving Party
 20   and any persons receiving source code from Receiving Party may not scan the source
 21   code to a PDF or photograph the code). The Receiving Party may electronically
 22   transmit the password protected documents referenced in Section 9(c)(ix) above to:
 23   Experts and Outside Counsel of Record. Any such electronic transmission must be
 24   encrypted. Except as permitted herein, unless agreed in advance by the parties in
 25   writing, images or electronic copies of source code shall not be included in
 26   correspondence (references to production numbers shall be used instead).
 27                            (xi)    Materials inadvertently left by the Receiving Party in the
 28   source code viewing room do not operate as a waiver of the attorney work product
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  1   doctrine or any other applicable privilege and shall be returned to the owner promptly.
  2   The Designating Party shall not be responsible for any items left in the source code
  3   viewing room.
  4                            (xii) Copies of HIGHLY CONFIDENTIAL – SOURCE CODE
  5   that are marked as deposition exhibits shall not be provided to the court reporter or
  6   attached to deposition transcripts; rather, the deposition record shall clearly identify
  7   the exhibit by its production numbers and the Party that brought the source code to the
  8   deposition will keep possession of the marked deposition HIGHLY CONFIDENTIAL
  9   – SOURCE CODE exhibit. If the deposition exhibit has been marked up or altered in
 10   any way by the deponent, the Receiving Party shall store the exhibit in its marked form
 11   and provide one copy to Outside Counsel of Record for the other Party.
 12                            (xiii) Outside Counsel of Record for the Receiving Party with
 13   custody of HIGHLY CONFIDENTIAL – SOURCE CODE information shall maintain
 14   a source code log containing the following information: (1) the identity of each person
 15   granted access to the HIGHLY CONFIDENTIAL – SOURCE CODE information, and
 16   (2) the first date on which such access was granted. Outside Counsel of Record for the
 17   Receiving Party shall produce, upon request, the source code log to the Designating
 18   Party within twenty (20) days after the final judgment herein after the completion and
 19   exhaustion of all appeals, rehearings, remands, trials, or reviews of that action,
 20   including the time limits for filing any motions or applications for extension of time
 21   pursuant to applicable law. The Designating Party shall also be entitled to a copy of
 22   the source code log during the pendency of litigation upon a showing of good cause.
 23   10.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
 24   OTHER LITIGATION
 25          10.1 If a Party is served with a subpoena, discovery request, or a court order
 26   issued in other litigation that compels and/or requires disclosure of any information or
 27   items designated in this action as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
 28

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  1   OUTSIDE ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –
  2   SOURCE CODE” that Party must:
  3                    (a)      promptly notify in writing the Designating Party. Such notification
  4   will include a copy of the subpoena, discovery request, or court order;
  5                    (b)      promptly notify in writing the party who caused the subpoena,
  6   discovery request, or order to issue in the other litigation that some or all of the material
  7   covered by the subpoena, discovery request, or order is subject to this Protective Order.
  8   Such notification will include a copy of this Stipulated Protective Order; and
  9                    (c)      cooperate with respect to all reasonable procedures sought to be
 10   pursued by the Designating Party whose Protected Material may be affected.
 11           If the Designating Party timely seeks a protective order, the Party served with
 12   the subpoena, discovery request, or court order will not produce any information
 13   designated in this action as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL –
 14   OUTSIDE ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –
 15   SOURCE CODE” before a determination by the court from which the subpoena,
 16   discovery request, or order issued, unless the Party has obtained the Designating
 17   Party’s permission. The Designating Party will bear the burden and expense of
 18   seeking protection in that court of its confidential material and nothing in these
 19   provisions should be construed as authorizing or encouraging a Receiving Party in this
 20   action to disobey a lawful directive from another court.
 21           10.2 The provisions set forth herein are not intended to, and do not, restrict in
 22   any way the procedures set forth in Federal Rule of Civil Procedure 45(d)(3) or (f).
 23   11.     A     NON-PARTY’S                 PROTECTED   MATERIAL        SOUGHT        TO      BE
 24   PRODUCED IN THIS LITIGATION
 25                    (a)      The terms of this Order are applicable to information produced by
 26   a Non-Party in this action and designated as “CONFIDENTIAL,” “HIGHLY
 27   CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES ONLY,” or “HIGHLY
 28   CONFIDENTIAL – SOURCE CODE.” Such information produced by Non-Parties in
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  1   connection with this litigation is protected by the remedies and relief provided by this
  2   Order. Nothing in these provisions should be construed as prohibiting a Non-Party
  3   from seeking additional protections.
  4                   (b)      In the event that a Party is required by a discovery request to
  5   produce a Non-Party’s confidential information in its possession, and the Party is
  6   subject to an agreement with the Non-Party not to produce the Non-Party’s
  7   confidential information, then the Party will promptly comply with any notice
  8   requirements contained within the agreement and disclose the discovery request to the
  9   Non-Party. In such an event, the Party must also notify the Receiving Party that issued
 10   the discovery request that it is withholding from disclosure documents and information
 11   based upon a contractual obligation to a third party.
 12   12.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 13          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 14   Protected Material to any person or in any circumstance not authorized under this
 15   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 16   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 17   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 18   persons to whom unauthorized disclosures were made of all the terms of this Order,
 19   and (d) request such person or persons to execute the “Acknowledgment and
 20   Agreement to Be Bound” that is attached hereto as Exhibit A.
 21   13.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 22   PROTECTED MATERIAL
 23          Pursuant to Federal Rule of Evidence 502, the inadvertent production or
 24   disclosure of any document or thing (including information and Protected Material)
 25   otherwise protected by the attorney-client privilege, work-product immunity, or other
 26   privilege or immunity shall not operate as a waiver of any such privilege or immunity.
 27   If any Receiving Party recognizes that any producing Party (or Non-Party) may have
 28   inadvertently produced such protected information, it shall notify the producing Party
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  1   or Non-Party promptly. If, after recognizing that privileged information has been
  2   produced or disclosed (through notice by a Receiving Party or otherwise), the Party or
  3   Non-Party who made the inadvertent production or disclosure may send to each
  4   Receiving Party a written request for return of the inadvertently produced or disclosed
  5   document or thing within a reasonably prompt period of time. The written request
  6   shall provide to the Receiving Party for each such document or thing a description of
  7   the basis for the claim of privilege or immunity. Within seven (7) business days of
  8   receiving such a request, the Receiving Party shall (a) return to the producing Party or
  9   Non-Party all such documents and things identified by the producing Party or Non-
 10   Party as being protected by the attorney-client privilege, work-product immunity, or
 11   other privilege or immunity and as having been inadvertently produced, and (b) delete
 12   any electronic records thereof (with the exception of back-up tapes or other archival
 13   media, which should be treated in accordance with standard retention policies). The
 14   Receiving Party shall not utilize the information contained in the inadvertently
 15   produced documents or things for any purpose, or disseminate or transmit such
 16   information, except as provided in subsection (a) below.
 17                   (a)      If the Receiving Party wishes to contest that any such document or
 18   thing is protected by the attorney-client privilege or by work-product immunity, the
 19   Receiving Party shall so notify the producing Party or Non-Party in writing when the
 20   document or thing is returned to the producing Party or Non-Party (“Notice of
 21   Disputed Designation”).             The Receiving Party may retain one (1) copy of the
 22   document(s) or thing(s) at issue for the purposes of filing a motion to contest the
 23   designation. The copy retained by the Receiving Party must be sequestered, and may
 24   not be used for any purpose except to present the information to the Court for a
 25   determination of the claim of privilege.
 26                   (b)      Any letter or motion filed pursuant to this Section shall be filed
 27   under seal in accordance with the procedures set forth herein for filing Protected
 28   Material with the Court. If the Court rejects the Receiving Party’s challenge to the
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  1   privileged status of the inadvertent production, the one (1) copy, if any, retained by
  2   the Receiving Party as set forth in subsection (a) of this Section 13 shall be
  3   immediately returned to the producing Party or Non-Party.
  4                   (c)      If the Receiving Party generated documents or things which
  5   contain information derived from such inadvertently produced documents and things,
  6   the Receiving Party shall make reasonable efforts to either destroy the derivative
  7   documents and things or redact from them all such derivative privilege or work
  8   product information in a manner such that the derivative information cannot in any
  9   way be retrieved or reproduced once any challenge relating to the privileged status of
 10   the inadvertent production is resolved.
 11                   (d)      The procedures set forth in this Section 13 for challenging the
 12   privileged status of an inadvertent production shall not result in any waiver of the
 13   attorney-client privilege, the work product immunity, or any other privilege or
 14   immunity. There shall be no waiver of the attorney-client privilege, the work product
 15   immunity, or any other privilege or immunity for an inadvertent disclosure or
 16   production if the producing Party or Non-Party complies with the procedures set forth
 17   in this Section 13 with respect to such inadvertent disclosure or production.
 18   14.    MISCELLANEOUS
 19          14.1 Right to Further Relief. Nothing in this Order abridges the right of any
 20   person to seek its modification by the Court in the future.
 21          14.2 Right to Assert Other Objections. By stipulating to the entry of this
 22   Protective Order no Party waives any right it otherwise would have to object to
 23   disclosing or producing any information or item on any ground not addressed in this
 24   Stipulated Protective Order. Similarly, no Party waives any right to object on any
 25   ground to use in evidence of any of the material covered by this Protective Order.
 26          14.3 Export Control.              Protected Material produced in this matter may
 27   contain technical data subject to export control laws and therefore the release of such
 28   technical data to foreign persons or nationals in the United States or elsewhere may be
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  1   restricted. The Receiving Party shall take measures necessary to ensure compliance
  2   with applicable export control laws, including confirming that no unauthorized foreign
  3   person has access to such technical data. A Receiving Party may not remove Protected
  4   Material designated “HIGHLY CONFIDENTIAL – OUTSIDE ATTORNEYS’ EYES
  5   ONLY” from the territorial boundaries of the United States of America or Canada.
  6   The viewing of Protected Material designated “HIGHLY CONFIDENTIAL –
  7   OUTSIDE ATTORNEYS’ EYES ONLY” through electronic means outside the
  8   territorial limits of the United States of America or Canada is similarly prohibited.
  9   Further, with respect to materials designated as “HIGHLY CONFIDENTIAL –
 10   SOURCE CODE,” such materials may not leave the territorial boundaries of the
 11   United States of America, and the viewing of Protected Material designated “HIGHLY
 12   CONFIDENTIAL – SOURCE CODE” through electronic means outside the territorial
 13   limits of the United States of America is similarly prohibited. Without limitation, this
 14   prohibition extends to the specified Protected Material (including copies) in physical
 15   and electronic form. The restrictions contained within this section may be amended
 16   through the express written consent of the Designating Party to the extent that such
 17   agreed to procedures conform with applicable export control laws and regulations.
 18   Nothing in this section is intended to remove any obligation that may otherwise exist
 19   to produce documents currently located in a foreign country.
 20           14.4 Filing Protected Material. A Party may not file in the public record in
 21   this action any Protected Material unless: (a) it receives written permission from the
 22   Designating Party or (b) the Court orders the filings of the material in the public record
 23   after compliance with Local Rule 79-5.
 24           14.5 Privilege Logs.              Absent a showing of good cause, no party is required
 25   to identify on its respective privilege log any document or communication dated after
 26   the date of the filing of the complaint in the respective action. The parties shall
 27   promptly produce privilege logs identifying material it withheld from production, and
 28   must serve supplemental privilege logs promptly upon identification of additional
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  1   documents withheld or redacted on the basis of privilege, attorney work product, or
  2   similar doctrines.
  3           14.6 Computation of Time. The computation of any period of time prescribed
  4   or allowed by this Order shall be governed by the provisions for computing time set
  5   forth in Federal Rule of Civil Procedure 6.
  6   15.     FINAL DISPOSITION
  7           Final disposition shall be deemed to be the later of (1) dismissal of all claims
  8   and defenses in this action, with or without prejudice; and (2) final judgment herein
  9   after the completion and exhaustion of all appeals, rehearings, remands, trials, or
 10   reviews of this action, including the time limits for filing any motions or applications
 11   for extension of time pursuant to applicable law and the time limits for filing a petition
 12   for writ of certiorari to the Supreme Court of the United States if applicable.
 13           Within 60 days after the final disposition of this action, as defined herein, each
 14   Receiving Party must return all Protected Material to the Designating Party or destroy
 15   such material. As used in this subdivision, “all Protected Material” includes all copies,
 16   abstracts, compilations, summaries, and any other format reproducing or capturing any
 17   of the Protected Material. Whether the Protected Material is returned or destroyed,
 18   the Receiving Party must submit a written certification to the Designating Party by the
 19   60-day deadline that (1) identifies (by category, where appropriate) all the Protected
 20   Material that was returned or destroyed and (2) affirms that the Receiving Party has
 21   not retained any copies, abstracts, compilations, summaries or any other format
 22   reproducing or capturing any of the Protected Material.              Notwithstanding this
 23   provision, Outside Counsel of Record are entitled to retain an archival copy of all
 24   pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,
 25   correspondence, deposition and trial exhibits, expert reports, attorney work product,
 26   and consultant and expert work product, even if such materials contain Protected
 27   Material, with the exception of paper copies of source code. Any such archival copies
 28

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  1   that contain or constitute Protected Material remain subject to this Protective Order as
  2   set forth in Section 4 (DURATION).
  3          IT IS SO STIPULATED, through Counsel of Record.
  4

  5   Dated: March 22, 2023                        Pillsbury Winthrop Shaw Pittman LLP
  6
                                                   /s/ David J. Tsai
  7
                                                   Counsel for Plaintiff
  8

  9

 10   Dated: March 22, 2023                        Sheppard, Mullin, Richter & Hampton LLP
 11

 12                                                /s/ Jennifer Klein Ayers *with permission
                                                   Counsel for Defendant
 13

 14

 15

 16

 17                          23 day of ___________,
             SO ORDERED this ___        March___
                                            h ___,, 2023.
                                                    2023
                                                       3.
 18

 19

 20                                                   Honorable
                                                        norabble Michael R
                                                                         R. Wilner
                                                      United States Magistrate Judge
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  1                                              EXHIBIT A
  2

  3               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  4           I, _____________________________ [full name], of _________________
  5   ________________________________________________________ [full address],
  6   declare under penalty of perjury that I have read in its entirety and understand the
  7   Stipulated Protective Order that was issued by the United States District Court for the
  8   Central District of California on ______________ [date] in the case of Playvuu, Inc.
  9   v. Snap Inc., Case No. 2:22-cv-06019-GW-MRW. I agree to comply with and to be
 10   bound by all the terms of this Stipulated Protective Order, and I understand and
 11   acknowledge that failure to so comply could expose me to sanctions and punishment
 12   in the nature of contempt. I solemnly promise that I will not disclose in any manner
 13   any information or item that is subject to this Stipulated Protective Order to any person
 14   or entity except in strict compliance with the provisions of this Order.
 15           I further agree to submit to the jurisdiction of the United States District Court
 16   for the Central District of California for the purpose of enforcing the terms of this
 17   Stipulated Protective Order, even if such enforcement proceedings occur after
 18   termination of this action. I hereby appoint __________________________ [full
 19   name] of _________________________________________________ [full address
 20   and telephone number] as my California agent for service of process in connection
 21   with this action or any proceedings related to enforcement of this Stipulated Protective
 22   Order.
 23   Date: ______________________________________
 24   City and State where signed: _________________________________
 25   Printed name: _______________________________
 26

 27   Signature: __________________________________
 28
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